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                         UNITED STATES COURT OF APPEALS
                            FOR THE ELEVENTH CIRCUIT
                            ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                          56 Forsyth Street, N.W.
                                          Atlanta, Georgia 30303

David J. Smith                                                                     For rules and forms visit
Clerk of Court                                                                     www.ca11.uscourts.gov


                                      September 20, 2018

Lorenzo Pearson
17 W MAIN ST
ARITON, AL 36311

Appeal Number: 18-12398-J
Case Style: Lorenzo Pearson v. The Commercial Bank of Ozark, et al
District Court Docket No: 1:17-cv-00687-WKW-TFM

This Court requires all counsel to file documents electronically using the Electronic Case
Files ("ECF") system, unless exempted for good cause.

The following action has been taken in the referenced case:

Pursuant to Eleventh Circuit Rule 42-1(b) you are hereby notified that upon expiration of
fourteen (14) days from this date, this appeal will be dismissed by the clerk without further
notice unless you pay to the DISTRICT COURT clerk the docketing and filing fees, with notice
to this office.

Sincerely,

DAVID J. SMITH, Clerk of Court

Reply to: Davina C. Burney-Smith, J
Phone #: (404) 335-6183

                                                                     MOT-2 Notice of Court Action
